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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

                                   )
MARK MEADOWS,                      )
                                   )
            Plaintiff,             )
                                   )
      v.                           )    Case No. 1:21CV3217 (CJN)
                                   )
NANCY PELOSI, et al.,              )
                                   )
            Defendants.            )
                                   )


    PLAINTIFF’S REPLY IN SUPPORT OF MOTION FOR JUDGMENT ON THE
     PLEADINGS, OR IN THE ALTERNATIVE, FOR SUMMARY JUDGMENT
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                                        INTRODUCTION

       No authoritative appellate court opinion has ever held that a senior aide to a President, or

a President himself, can be compelled by Congress to appear and give testimony, let alone when

there is claim of Executive Privilege. In their briefing, the Congressional Defendants do not,

because they cannot, dispute this fact. Likewise, no court has ever held that a former President

cannot claim Executive Privilege, or that any President, present or former, must personally

communicate a claim of Executive Privilege to a congressional committee.                Nor can the

Congressional Defendants identify any case holding that the current President may, as here, act

unilaterally to vitiate a former President’s claim of Executive Privilege as to testimonial evidence

sought by Congress. Thus, ripe for consideration in this case are these momentous issues of

constitutional dimension as to which Mr. Meadows can properly seek declaratory judgment.

       Even so, under the avoidance doctrine, where there is a non-constitutional issue before the

Court that can resolve the matter without resort to the foregoing and related constitutional issues,

the Court should resolve the matter on that basis if possible. See Kalka v. Hawk, 215 F.3d 90, 97

(D.C. Cir. 2000) (“Federal courts should not decide constitutional questions unless it is necessary

to do so.”); Shelton v. United States, 327 F.2d 601, 605 (D.C. Cir. 1963) (applying constitutional

avoidance to congressional subpoena challenge). Doing so here would mean granting summary

judgment in favor of Mr. Meadows based on the Select Committee’s failure to satisfy its

composition and consultation requirements (while necessarily denying summary judgment for the

Congressional Defendants).       The Supreme Court and the D.C. Circuit have both ruled

unmistakably that the courts are empowered to apply and enforce congressional rules that affect

the rights of a congressional witness. See Yellin v. United States, 374 U.S. 109, 114 (1963) (“It

has been long settled, of course, that rules of Congress and its committees are judicially cognizable.




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And a legislative committee has been held to observance of its rules, just as, more frequently,

executive agencies have been.”) (internal citations omitted). 1

        Here, Mr. Meadows has challenged the subpoena issued to him on the grounds that it was

not issued in accordance with applicable congressional rules. The Congressional Defendants

attempt to dismiss this issue as one of ‘nitpicking titles’ and maintain that it is off limits to judicial

review pursuant to the Rulemaking Clause. ECF No. 35 at 29. Relevant authority is to the

contrary. Under controlling Supreme Court precedent, the issue of whether the subpoenas to Mr.

Meadows were validly issued and are thus enforceable is very much a question for the Court. Just

as in Christoffel v. United States, “[t]he question is neither what rules Congress may establish for

its own governance, nor whether presumptions of continuity may protect the validity of its

legislative conduct. The question is rather what rules the House has established and whether

they have been followed.” 338 U.S. 84, 88–89 (1949) (emphasis added). As explained in detail

below, the rules established for the Select Committee require that, for a deposition subpoena to

issue, the Chair must consult with the Ranking Member. That rule was not followed because, as

the Congressional Defendants have admitted (and as their dismissive “nitpicks the use of titles”

comment confirms), ECF No. 35 at 24, the Select Committee has no designated Ranking Member.

Thus, this non-constitutional issue is ripe for resolution and, under the Supreme Court and D.C.




1
  See also Christoffel v. United States, 338 U.S. 84, 88–90 (1949) (holding that validity of
congressional subpoena turned on judicial determination of “what rules the House has established
and whether they have been followed”); United States v. Smith, 286 U.S. 6, 33 (1932) (holding
that, where “the construction to be given to [Senate] rules affects persons other than members of
the Senate, the question presented is of necessity a judicial one”); United States v. Ballin, 144 U.S.
1 (1892) (interpreting and applying congressional rules to determine whether a bill was properly
enacted); Liveright v. United States, 347 F.2d 473 (D.C. Cir. 1965) (holding that Senate
subcommittee’s subpoena was invalid where it was authorized only by the subcommittee
chairman, with limited consultation, and not by that entire subcommittee as required by Senate
resolution).


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Circuit decisions on point, results in judgment for Mr. Meadows that the subpoena in question was

not validly issued and is unenforceable because its issuance was not in accord with the relevant

requirements of the Select Committee and House rules. See infra Part III.

       The Congressional Defendants’ “nitpicking” characterization is also consistent with their

summary judgment briefing’s cavalier treatment and dismissive rhetoric regarding the important

constitutional issues outlined above. Their claim of entitlement to summary judgment in their

favor is belied by the obvious weaknesses and lack of persuasive force of the arguments they

advance. In the world of their arguments, long on rhetoric but short on authority:

   x   they can “support, rather than undermine,” the Separation of Powers by pursuing this clash

       with a former Executive official, see ECF No. 35 at 10;

   x   the D.C. Circuit’s ruling in Trump v. Thompson, 20 F.4th 10 (D.C. Cir. 2021)—on the

       propriety of a different subpoena for records controlled by the Presidential Records Act—

       gives them a legal cudgel to extinguish constitutional obstacles to their obtaining testimony

       here asserted by a former President to be subject to Executive Privilege, see ECF No. 35 at

       18–19;

   x   the current President can waive the former President’s privilege in the context of an

       obviously political controversy, such that the incumbent alone has the final word on a

       privilege that the Congressional Defendants admit exists for the benefit of the Republic—

       leaving nothing to review because the President and the House control the question, see id.

       at 32–33;

   x   it is irrelevant that Mr. Meadows supplied thousands of non-privileged documents, and that

       the Congressional Defendants rebuffed any efforts to find exactly the kind of

       accommodation viewed by the Supreme Court favorably to resolve these issues, clearing



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       the way by their aim for him to be prosecuted for contempt of Congress and sent to prison,

       see id. at 11;

   x   finally and most pointedly perhaps, the Congressional Defendants maintain that Mr.

       Meadows cannot waive Executive Privilege yet somehow, at the same time, he is not

       competent to assert it either, see id. at 32, leaving him in exactly the legal no-man’s land

       that justifies his coming to this Court asking it to “say what the law is,” ECF No. 13 ¶ 6.

In sum, the Congressional Defendants’ claimed highway to summary judgment is riddled with

legal potholes, speed bumps, and dead-ends all together desperately lacking in authority or

persuasion.

       Fortunately for Mr. Meadows, and for the sound functioning of American government, our

Constitution and laws do not give Congress the authority to demand whatever they wish and to

ignore all constitutional principles that apply to their quest. To the contrary, it is well established

that, when a congressional committee seeks to use the implied constitutional authority to compel

testimony, it must respect the Separation of Powers; it must do so only in pursuit of a valid

legislative purpose (and not for the purpose of generating publicity or pursuing law enforcement);

and it must follow the rules associated with the delegation on which its claimed subpoena authority

relies. Given its dismissive treatment of these legal guardrails in its brief, it is not surprising that

the Congressional Defendants have overstepped them on the undisputed factual record.

                                           *       *       *

       There are three straightforward grounds on which Mr. Meadows is entitled to relief, which

would necessarily result in the Defendants’ Summary Judgment motion being denied and

Meadows motion being granted:




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       First, the Court should hold that, as a former Chief of Staff to then-President Trump, Mr.

Meadows is immune from the Select Committee’s effort to compel him to testify about his service

in that role. The Congressional Defendants do not and cannot dispute that no appellate precedent

(from any Court of Appeals or from the Supreme Court) has ever held that a President’s senior

aide—or a President himself—can be compelled by Congress to appear and give testimony. Nor

does any such opinion hold, as the Congressional Defendants suggest, see ECF No. 35 at 32–33,

that a former President cannot assert privilege or immunity, or that a President must personally

communicate an assertion of privilege to a congressional committee. Thus, at a minimum, these

are open questions on important constitutional issues that merit judicial consideration and

intervention.

       But more than that, the soundest legal conclusions are that testimonial immunity does

protect a former White House Chief of Staff like Mr. Meadows, as bipartisan Attorney General

and OLC opinions have concluded; and that Separation of Powers concerns continue to require the

protection of former President Trump and his most senior aide, even if the incumbent President

does not support the assertion of privilege, as Justice Kavanaugh recently explained in his

concurrence as to the denial of certiorari in Trump v. Thompson, 142 S. Ct. 680, 680–81 (2022)

(Mem.) (statement of Kavanaugh, J., respecting denial of application).           And while the

Congressional Defendants try to sidestep these important constitutional issues through a post hoc

litigation effort to limit their subpoenas to “campaign activit[y]” supposedly outside his White

House role, see ECF No. 35 at 20–22, that effort fails on both the facts and on the law. See infra

Part I.A.

       Mr. Meadows is therefore entitled to declaratory relief based on testimonial immunity

rooted in the constitutional Separation of Powers.




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       Second, the Court should also hold that the Select Committee has not met its burden of

establishing a valid legislative purpose to support its subpoenas directed at Mr. Meadows. In

opposition, the Congressional Defendants rely on the D.C. Circuit’s opinion in Thompson, 20 F.4th

10, and on Judge Kelly’s recent ruling in Republican Nat’l Comm. v. Pelosi, No. 22cv659, __ F.

Supp. 3d __, 2022 WL 1294509 (D.D.C. May 1, 2022). But Thompson was about a very different

case than this one and does not give the Select Committee the license it would take to avoid

establishing that a valid legislative purpose underlies the particular subpoenas at issue in this case.

The D.C. Circuit has granted the RNC injunctive relief pending its review of Judge Kelly’s

decision, a ruling that necessarily is based on its conclusion that the RNC is likely to succeed on

the merits of its appeal. See Order, Republican Nat’l Comm. v. Pelosi, No. 22-5123 (D.C. Cir.

May 25, 2022).

       Indeed, the Congressional Defendants’ opposition brief further confirms what Mr.

Meadows has argued from the beginning: that the Select Committee is improperly pursuing the

off-limits purposes of publicity and law enforcement, rather than a valid legislative purpose, in

targeting Mr. Meadows. The Congressional Defendants claim that they need Mr. Meadows’s

testimony in furtherance of their “task to determine the facts, circumstances, and causes related to

the January 6th attack.” ECF No. 35 at 24. But that is not a legislative purpose at all. The

Congressional Defendants make no attempt to identify a single piece of draft legislation—or even

a hypothetical bill—that would be better informed by Mr. Meadows’s testimony. This only

bolsters the conclusion, which was already obvious from the undisputed facts, that the Select

Committee’s goal is to gather information to make it public and/or for law enforcement purposes. 2



2
  If anything, as Meadows’s Amended Complaint avers and the still growing public record shows,
the Select Committee is deeply engaged in the non-legislative purposes of exposure for the sake
of exposure and/or in support of law enforcement, such as with its announced plans for several


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       Mr. Meadows is thus entitled to declaratory relief that the subpoenas are unenforceable for

want of a valid legislative purpose.

       Third, the Court should hold that the subpoenas are invalidly issued because the Select

Committee is not compliant with the composition or consultation requirements of H. Res. 503.

Indeed, this ground provides a narrow basis for invalidating the subpoenas that would allow the

Court to avoid resolving the constitutional questions raised by testimonial immunity and legislative

purpose.

       While the Congressional Defendants make an effort to argue that the Court must take their

word for it under the Rulemaking Clause, see ECF No. 35 at 26–29, they also cite United States v.

Rostenkowski, 59 F.3d 1291 (D.C. Cir. 1995), where the D.C. Circuit rejected the notion that

House procedures are unreviewable and emphasized that “under Article III of the Constitution the

courts are the final arbiters of the law and may not shirk their duty to interpret the law.” Id. at

1306. Under Rostenkowski, in a separation of powers dispute over criminal prosecution of a

Member of Congress for allegedly violating House rules, the interpretation of a House rule may

be non-justiciable if it is genuinely ambiguous. Id. But in this case there is nothing ambiguous

about H. Res. 503’s direction that the Select Committee “shall” have 13 members, or the rule’s

requirement that a subpoena to appear for a deposition may only issue by the Chair after

consultation with the Select Committee’s “Ranking Member” (of which there is none). Not only

may the Court apply the rules established for the Select Committee, it must do so.




days or prime time televised hearings. See, e.g., Notice of Hearing, Select Comm. to Investigate
the Jan. 6th Attack on the U.S. Capitol, 117th Cong. (June 2, 2022),
https://docs.house.gov/meetings/IJ/IJ00/20220609/114870/HHRG-117-IJ00-20220609-
SD001.pdf. If he is not entitled to summary judgment now on this issue, Mr. Meadows is at the
very least entitled to the discovery the civil process affords to fully develop this record.


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       Mr. Meadows is entitled to declaratory relief that the subpoenas are unenforceable based

on these failures to comply with H. Res. 503.

       The Congressional Defendants try to resist these straightforward grounds for granting relief

to Mr. Meadows by claiming that he has failed to comply with Fed. R. Civ. P. 56(c) and LCvR

7(h). See ECF No. 35 at 7–10. But that argument misstates the record and misconstrues the

grounds for relief favoring Mr. Meadows. And just as importantly, it proves too little asking for

too much. Even if the Court were to agree with the Congressional Defendants that Mr. Meadows

has not yet developed a sufficient record of admissible evidence to support summary judgment in

his favor, the proper course would be to grant Mr. Meadows’s still-pending Fed. R. Civ. P. 56(d)

motion to allow him a meaningful opportunity to pursue discovery.

       Indeed, the most recent developments in the RNC litigation demonstrate that the

Congressional Defendants’ rush to judgment here is misguided and unsupported. There, as here,

the Congressional Defendants claimed a pressing need for quick resolution ahead of scheduled

“primetime” congressional hearings. But after the RNC appealed and the D.C. Circuit issued an

injunction pending appeal, the Congressional Defendants suddenly lost their appetite for

expediting proceedings and pursued a motion to defer the D.C. Circuit’s consideration of that case.

See Mot. Postponement Br. & Oral Arg., RNC v. Pelosi, No. 22-5123 (D.C. Cir. May 29, 2022).

The Court should not countenance such transparent gamesmanship and false claims of a need for

haste by rushing past a plaintiff’s entitlement to discovery where needed. Indeed, that course

would be all the more appropriate here because, unlike in other pending cases, the Congressional

Defendants have waived any assertion of immunity under the Speech or Debate Clause since they

have twice answered Mr. Meadows’s complaints without asserting it.




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       Finally, it is important to note that the Congressional Defendants have improperly

attempted to raise new grounds for summary judgment in their favor as part of their reply brief

(which was understandably combined with their opposition to Mr. Meadows’s own motion). See

infra Part IV.C. But it is well established that such arguments are forfeited.

                                          *      *       *

       The Court thus has three distinct grounds on which it may grant judgment in Mr.

Meadows’s favor—testimonial immunity, valid legislative purpose, or compliance with H. Res.

503. The first two raise important constitutional questions about the Separation of Powers and

Congress’s implied subpoena authority, and the third involves a narrower ground that might avoid

the need to resolve those issues. And if the Court should conclude that disputed facts bear on these

issues, then it already has pending Mr. Meadow’s Rule 56(d) motion to proceed to discovery.

                                          ARGUMENT

I.     Testimonial Immunity Protects Former Chief of Staff Meadows from Congressional
       Compulsion to Testify About His White House Service.

       The Congressional Defendants try to create the impression that Mr. Meadow’s assertion of

testimonial immunity is foreclosed by precedent. But it simply is not. Only two non-binding

district court opinions have ever addressed the issue, and as Mr. Meadows previously explained,

see ECF No. 29-1 at 30–33, neither opinion persuasively makes the case against testimonial

immunity in these circumstances. Unable to gloss over the immunity issue, the Congressional

Defendants also try to argue around it by questioning whether it was ever properly asserted and

through a post hoc litigation effort to narrow the scope of their subpoenas to allegedly non-official

topics. See ECF No. 35 at 30–31. But those efforts fail as well.




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       A.      Testimonial Immunity Is Squarely Rooted in the Separation of Powers and Is
               Directly at Issue in this Case.

       The doctrine of testimonial immunity against congressional subpoenas for senior

Presidential aides is not something that bipartisan Attorneys General and the Office of Legal

Counsel made up from whole cloth. The notion that Presidential advisors and their papers enjoy

constitutional protection dates back to the Nation’s first President. See generally Hearing on S.

921 Before the Subcomm. on Constitutional Rights of the Senate Comm. on the Judiciary, 85th

Cong., 2d Sess., at 33–146 (1958) (statement of Att’y Gen. Rogers). One of the many concerning

features of government under the Articles of Confederation that our Founders rejected in adopting

our Constitution was unfettered access by the Continental Congress to records of core executive

functions, such as foreign affairs. See id. at 36–37. When a congressional committee tried to

investigate President Washington’s Administration for its handling of “a military expedition led

by General St. Clair under the direction of the Secretary of War,” President Washington announced

clear limits on his Administration’s cooperation—including that “neither the committee nor House

had a right to call on the head of a department, who and whose papers were under the President

alone.” Id. at 37. Thus, while many of the earliest disputes focused on production of documents

rather than testimony—almost certainly because both branches viewed document production as a

less intrusive accommodation—and thus on principles of Executive Privilege, it is equally clear

that the same principles were understood to prevent Congress from compelling testimony from

senior executive officials “who . . . were under the President alone.” Id.

       At least since the 1970s, when the Supreme Court was required to resolve interbranch

disputes of executive privilege, federal courts have time and again endorsed the need for Executive

Privilege and related protections not only to promote the President’s informed and efficient

decision-making, but also to preserve the Separation of Powers. See, e.g., United States v. Nixon,



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418 U.S. 683, 704–05 (1974); Trump v. Mazars USA, LLP, 140 S. Ct. 2019, 2032 (2020). Mr.

Meadows is uniquely situated even among executive officials. As former White House Chief of

Staff, Mr. Meadows served as the most trusted official advisor to the President of the United States.

He participated in some of the President’s most delicate conversations, gave candid advice during

the President’s most private deliberations, and was privy to the innermost operations of the

Executive Office. The documents and communications of such an advisor enjoy constitutional

protections because, as the Supreme Court has noted, “[h]uman experience teaches that those who

expect public dissemination of their remarks may well temper candor with a concern for

appearances and for their own interests to the detriment of the decision-making process.” Nixon,

418 U.S. at 705.

       As Justice Kavanaugh has explained in the context of the Presidential communications

privilege (which is a particular species of Executive Privilege closely related to testimonial

immunity), the same protection must continue to apply after a President’s tenure ends, even if the

new President disagrees. See Trump v. Thompson, 142 S. Ct. 680, 680–81 (2022) (Mem.)

(statement of Kavanaugh, J., respecting denial of application).

       By protecting the confidentiality of . . . internal communications, the Presidential
       communications privilege facilitates candid advice and deliberations, and it leads
       to more informed and better Presidential decisionmaking. . . . [B]y way of historical
       example, . . . the Constitutional Convention was conducted in complete privacy and
       . . . the records of the Convention remained confidential for more than 30 years. As
       was true at the Constitutional Convention, the Presidential communications
       privilege cannot fulfill its critical constitutional function unless Presidents and their
       advisers can be confident in the present and future confidentiality of their advice.
       If Presidents and their advisers thought that the privilege’s protections would
       terminate at the end of the Presidency and that their privileged communications
       could be disclosed when the President left office (or were subject to the absolute
       control of a subsequent President who could be a political opponent of a former
       President), the consequences for the Presidency would be severe. Without
       sufficient assurances of continuing confidentiality, Presidents and their advisers
       would be chilled from engaging in the full and frank deliberations upon which
       effective discharge of the President's duties depends.



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Id. at 681 (quotation omitted).

         The Congressional Defendants dismiss without evaluation the Justice’s statement as

lacking the “force of law,” ECF No. 35 at 33; yet what the statement has is the force of reason,

logic and common sense. The Congressional Defendants would have the Court breeze past that

and all the authority underlying learned OLC opinions, boldly asserting that their position to strip

Mr. Meadows (and thus former President Trump) of these core constitutional protections

“support[s], rather than undermine[s]” the Separation of Powers. Id. at 10. But they are simply

wrong.

         The Congressional Defendants renew their reliance on Miers and McGahn and assert, as if

wishing would make it so, that those decisions “thoroughly addressed—and persuasively

rejected—” Mr. Meadow’s arguments about testimonial immunity. See id. at 13. But they then

cite Judge Bates’s discussion of a strawman argument that recognizing testimonial immunity

would allow a President to “deny access to all documents in all the Executive departments to all

citizens and their representatives, including Congress.” Id. (quoting Comm. on Judiciary, U.S.H.R.

v. Miers, 558 F. Supp. 2d 53, 103 (D.D.C. 2008)). That passage from Miers was quoting Nixon v.

Sirica, 487 F.2d 700 (D.C. Cir. 1973), which held that a grand jury subpoena overcame Executive

Privilege over documents; it of course had nothing to say about testimonial immunity, and it shows

that the quoted language came in the context of deciding whether constitutional protection for the

President’s information had been overcome in a criminal context, where under the relevant

precedent the justification for production is far different and, not whether it existed in the first

place. Additionally, the Separation of Powers discussion in McGahn that they cite, see ECF No.

35 at 9 (citing Comm. on Judiciary, U.S.H.R. v. McGahn, 415 F. Supp. 3d 148, 212 (D.D.C. 2019),

Judge Jackson opines without any citation or support that “the public spectacle of haling current




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and former advisors to a sitting President before a committee of Congress” is not a Separation of

Powers concern because “the power of inquiry resides with the Legislature.” 415 F. Supp. 3d at

212 (cleaned up). That conclusion is at the very least grandly overstated, if not just downright

erroneous. Article I of the Constitution conspicuously fails to enumerate any legislative “power

of inquiry,” and indeed, under our Constitution, the authority to investigate, and where appropriate

to prosecute, past wrongdoing is quintessentially an Executive prerogative. See, e.g., Morrison v.

Olson, 487 U.S. 654, 706 (1988) (Scalia, J., dissenting) (explaining that law enforcement is a

governmental function which “has always and everywhere—if conducted by government at all—

been conducted never by the legislature, never by the courts, and always by the executive”). The

McGahn decision’s reasoning is unpersuasive and offers the Court the thinnest of reeds upon

which to rule on a fundamental constitutional question.

       Moreover, neither Miers, nor McGahn, nor the Congressional Defendants’ own brief

addresses the important constitutional implications of forcing a former White House Chief of Staff

to attend a hostile congressional deposition relating to his actions while serving the President.

There are no guardrails to protect executive prerogatives in a congressional deposition. House

regulations provided that Chairman Thompson serves as the ultimate arbiter of any claimed

privilege. See 167 Cong. Rec. H41 (daily ed. Jan. 4, 2021) (“If the Chair overrules any such

objection and thereby orders a witness to answer any question to which an objection was lodged,

the witness shall be ordered to answer.”). “[T]here is no judge or other neutral magistrate to whom

a witness can turn for protection against questions seeking confidential and privileged information.

The committee not only poses the questions to the witness, but also rules on any objections to its

own questions according to procedures it establishes.” Immunity of the Director of the Office of

Political Strategy & Outreach, 38 Op. O.L.C. 5, 9 (2014). If a single member of Congress can




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unilaterally override a deponent’s valid assertion of privilege belonging to a coequal branch of

government, the privilege might as well not even exist. The Congressional Defendants offer

nothing to assuage these concerns.

       The Congressional Defendants tellingly avoid addressing—and thus seem to concede—

that it would be a clear affront to the Separation of Powers for Congress to subpoena former

President Trump himself to testify before the Select Committee. See ECF No. 29-1 at 28–29. And

since “a presidential adviser’s immunity [from compelled testimony] is derivative of the

President’s,” Immunity of the Assistant to the President & Director of the Office of Political

Strategy and Outreach from Congressional Subpoena, 38 Op. O.L.C 1, 5 (2014), it follows that

the Select Committee cannot compel Mr. Meadows to testify either. This is consistent with how

the Supreme Court has interpreted the scope of the Speech or Debate protections afforded to

Congress, which the courts have extended (without any textual warrant) to legislative aides. See

Gravel v. United States, 408 U.S. 606 (1972). Mr. Meadows served as the “alter ego” of the

President, id. at 616, arguably even more than a legislative aide would serve as the alter ego of a

Member. “It is literally impossible for Members of Congress to perform their legislative tasks

without the help of aides and assistants,” id., and the same goes a fortiori for the President who

has far greater constitutional responsibilities as the one Executive, than any given Member does

acting as one of 535 in Congress. 3




3
  Their contention that, “[h]owever far testimonial immunity extends, it does not provide more
protection to a President’s aide than to a President,” ECF No. 35 at 18, is another strawman. They
do not even contend that President Trump would not have immunity to congressional subpoena,
and the supporting case they cite—Clinton v. Jones, 520 U.S. 681 (1997)—is wholly inapposite.
It famously involved the question whether a sitting President could be sued as a defendant in a
civil damages action during his Presidency for conduct that occurred before the presidency. That
holding has nothing to say about testimonial immunity.


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       The Congressional Defendants argue that President Trump is a “‘private party’” who

cannot assert Executive Privilege, ECF No. 35 at 32 (quoting United States v. Reynolds, 345 U.S.

1, 7–8 (1953)), and that “[a]ny assertions by Mr. Meadows alone are insufficient to invoke

executive privilege,” id. Those arguments invite egregious error. First, former President Trump

is nothing like the corporation in Firth Sterling Steel Co. v. Bethlehem Steel Co., 199 F. 353 (E.D.

Pa. 1912), that the Supreme Court was referring to as a private party in Reynolds. See 345 U.S. at

7 n.16. Second, the Supreme Court decades ago squarely “reject[ed] the argument that only an

incumbent President may assert [Executive Privilege] and [held] that … a former President[] may

also be heard to assert [it].” Nixon v. Adm’r of Gen. Servs., 433 U.S. 425, 439 (1977). And third,

Reynolds if anything bolsters Mr. Meadows’s position all along that, as a now private citizen who

previously served President Trump, he is in no position to waive the privileges and immunities that

the former President had instructed him to preserve. See 345 U.S. at 7 (stating that Executive

Privilege “can neither be claimed nor waived by a private party”) (emphasis added) (citing In re

Grove, 180 F. 62 (3d Cir. 1910) (holding that navy contractor was not in contempt of Congress by

refusing to produce information that he had been instructed to keep confidential by the Navy

Department)).

       The Congressional Defendants further argue that former President Trump has made only a

“generalized” assertion of privilege, ECF No. 35 at 34, which fails to overcome the Select

Committee’s professed need for Mr. Meadow’s testimony. Of course, as discussed further below,

see infra Part II, one of the major problems here is that the Select Committee has not articulated

any valid legislative need for his testimony. But even setting that aside, they miss the mark in

calling for some more granular assertion of privilege. Unlike the assertion of Executive Privilege

in response to a request for documents, as was as issue in Trump v. Thompson, which calls for a




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document-by-document assessment, testimonial immunity is much simpler.                Testimonial

immunity is “distinct from, and broader than, executive privilege” in that it “extends beyond

answers to particular questions, precluding Congress from compelling even the appearance of a

senior presidential adviser—as a function of the independence and autonomy of the President

himself.” Testimonial Immunity Before Congress of the Former Counsel to the President, O.L.C.

slip op., at *4 (May 20, 2019).

       B.      The Congressional Defendants’ Post Hoc Litigation Effort to Narrow Their
               Inquiry Bolsters, Rather than Undermines, Mr. Meadows’s Claims.

       The Congressional Defendants also argue that, “[e]ven if some form of testimonial

immunity did exist, . . . the information sought by the Select Committee is outside the scope of

any purported testimonial immunity.” ECF No. 35 at 16. That is flat wrong.

       To start, we must briefly address the absurd argument that Mr. Meadows only opposes “the

topics related to his role in former President Trump’s reelection campaign” and did not contest the

Congressional Defendants’ other arguments on testimonial immunity. See ECF No. 35 at 16–17.

The Congressional Defendants apparently overlooked at a minimum an entire section of Mr.

Meadows’s brief. See ECF No. 29-1 at 46–51 (Part IV.A). As discussed in Mr. Meadows’s

opposition to the Congressional Defendants’ motion, it is first improper for the Select Committee

to now purport to narrow its lines of inquiry as it is convenient to current circumstances. See id.

at 39 n.14.

       This is not the first time the Select Committee has at least claimed to narrow an overly

broad subpoena when it is challenged in court. See also Republican Nat’l Comm. v. Pelosi, No.

22cv659, __ F. Supp. 3d __, 2022 WL 1294509, at *3 (D.D.C. May 1, 2022). Setting that aside,

Mr. Meadows has consistently asserted his position that each of the topics set forth by the Select

Committee infringe upon former President Trump’s valid assertion of Executive Privilege. And



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though it has been difficult to follow the ever-shifting goalpost of topics the Select Committee has

put forward, to be certain, Mr. Meadows believes each of the topics of inquiry the Congressional

Defendants claim in their motion would be covered by Executive Privilege, just as Mr. Meadows

discussed at length in his May 20, 2022 brief. See ECF No. 29-1 at 46–51 (Part IV.A).

       Far from undermining Mr. Meadows’s claims, this post hoc attempt to narrow the subpoena

shows that Mr. Meadows is entitled—at a minimum—to relief on those portions of the subpoenas

that the Select Committee now claims it is no longer pressing. The only remaining question, then,

is whether those topics somehow sidestep testimonial immunity and all the other legal defects that

Mr. Meadows has raised. 4 They do not.

       As Mr. Meadows has explained, the nice distinction that the Congressional Defendants

would have the Court draw between the White House Chief of Staff’s official role and his actions

that related in one way or another to the then-President’s reelection campaign is illusory. See ECF

No. 29-1 at 35–37. They argue that this view of the role is too broad and even accuse Mr. Meadows

(in a footnote) of admitting to violations of the Hatch Act. See ECF No. 35 at 18 n.7. That

accusation is completely off-base.

       Mr. Meadows has made no such admission. Rather, he has asserted time and again that

the role of White House Chief of Staff inherently involves political considerations. Mr. Meadows

undertook each of the actions discussed in the Congressional Defendants’ motion within the scope

of his duties as White House Chief of Staff. And, yes, it is untenable for either Mr. Meadows or

the Select Committee to tease out which words he used or actions he took with respect to ensuring



4
  To be clear, even if the Congressional Defendants were correct that these narrowed topics fell
outside the scope of testimonial immunity, the subpoenas would still fail for want of a valid
legislative purpose, see infra Part II, for failure to comply with H. Res. 503, see infra Part III, and
for all of the other reasons raised in Mr. Meadows’s complaint that may not be appropriate for
summary disposition but which nevertheless undermine the subpoenas’ enforceability.


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our Nation’s safety or the integrity of our elections had more political significance than official.

To paraphrase the Select Committee on legislative purpose, when the Executive is carrying out its

official duties, courts generally do not look behind the curtain to penalize them for ulterior political

motives. See id. at 25. If they did, the courts would hardly have time for anything other than

adjudicating claims that this or that agency action was really done for a political bump.

        Second, the Hatch Act does not purport to be a touchstone for distinguishing official duties

from nonofficial duties for constitutional purposes. It is a focused and limited Act that limits use

of official resources for campaign purposes and imposes certain specified restrictions that, frankly,

have no bearing on the issues before the Court.

        It is no secret that members of the White House serve political functions and do so within

the confines of their official roles. For example, the Obama White House established an Office of

Political Strategy and Outreach. White House Archives indicate that this Office “provides the

President and Senior Staff with information about the political environment to help advance the

President’s agenda and coordinates constituent outreach efforts on behalf of the President.” 5

Somewhat ironically, when the Director of that Office of Political Strategy and Outreach, David

Simas, was called before a congressional committee to discuss possible Hatch Act violations, the

Department of Justice Office of Legal Counsel issued yet another opinion reiterating the

“Executive Branch’s longstanding position, reaffirmed by numerous administrations of both

political parties, is that the President’s immediate advisers are absolutely immune from

congressional testimonial process.” 38 Op. O.L.C. 5, 5 (2014).




5
   Presidential Department Descriptions, The White House: President Barack Obama,
https://obamawhitehouse.archives.gov/participate/internships/departments#:~:text=The%20Offic
e%20of%20Political%20Strategy,on%20behalf%20of%20the%20President (last visited June 1,
2022).


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       As discussed in Mr. Meadows’s brief in support of his motion, even if the Court is to find

he took political actions outside the scope of his official duties, congressional actions to impinge

on those rights should receive heightened judicial scrutiny. See ECF No. 29-1 at 40. The

Congressional Defendants cannot credibly contend that any of the actions by Mr. Meadows were

simply that of a private citizen unrelated to his role as Chief of Staff. When Mr. Meadows receives

a text message on January 6, for instance, the Congressional Defendants’ interest in that

communication arises solely because Meadows served as Chief of Staff and had a role with the

President, not that of some mere citizen interested in the happenings of that day.

       While the Congressional Defendants’ opposition again tries to assert a “compelling need

for the information,” as justification for overcoming constitutional obstacles to their demands,

“their actions have indicated otherwise. See ECF No. 35 at 20. They refused to even engage Mr.

Meadows on his offers of interrogatories to further their investigation, see ECF No. 29-2 ¶¶ 46–

55; they knowingly and falsely promised to limit questioning to matters outside the scope of

Executive Privilege—only to show their true intentions days before the planned deposition, see

id.; and instead of expressing gratitude for his cooperation with respect to documents, for the past

six months they used Mr. Meadows’s private communications as a reason to smear him and his

Republican allies in the press based on selective leaks and speculative innuendo as to why he took

certain actions. Even if the Select Committee once had a compelling need for Mr. Meadows’s

testimony, it is now plain that the one-time “need” pales in comparison to the Select Committee’s

compelling need to advance a political agenda. 6



6
  Because the Select Committee’s purposes are a factual issue as to which its conduct continues to
furnish relevant evidence, should the Court not rule dispositively otherwise, Mr. Meadows should
clearly be accorded time and the use of discovery to fully develop the factual picture relevant to
judicial determination of whether the Select Committee has a legitimate legislative purpose or is
instead engaged for purpose the Supreme Court has already defined as exceeding the limitation on


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       The Congressional Defendants also dispute that Mr. Meadows needs discovery relating to

his own political activity. It is the Congressional Defendants who have created the factual issue.

Mr. Meadows maintains that the actions he took were properly undertaken as Chief of Staff. It is

the Congressional Defendants who claim his actions were private conduct not covered by

testimonial immunity or Executive Privilege. That makes the nature, purpose and extent of the

conduct a relevant factual determination and one ripe for discovery. But such factual development

would not necessarily require Mr. Meadows to conduct discovery on the Congressional Defendants

themselves. For example, Mr. Meadows could conduct limited discovery by conducting a

third-party deposition of the current White House Chief of Staff and ask which political, reelection,

and/or election integrity considerations are excluded from his official duties. The Congressional

Defendants have placed this factual question squarely at issue, and Mr. Meadows should be able

to conduct discovery on these issues should the Court find them determinative. 7

II.    The Select Committee Did Not Have a Valid Legislative Purpose for the Subpoenas.

       The Select Committee has not met its burden of establishing a valid legislative purpose to

support its subpoenas directed at Mr. Meadows.

       Their legal arguments, which rely primarily on Trump v. Thompson, 20 F.4th 10 (D.C. Cir.

2021), and Republican Nat’l Comm. v. Pelosi. No. 22cv659, __ F. Supp. 3d __, 2022 WL 1294509

(D.D.C. May 1, 2022), are misguided and unpersuasive. Thompson does not give the Select

Committee license to subpoena whomever and whatever they want, nor does it excuse them from


congressional investigative authority, including leaks, by committee staff or otherwise, designed
solely to expose for exposure’s sake private information provided to the Select Committee. No
court has held that press leaks are a valid legislative purpose.
7
  In any event, to the extent the Congressional Defendants contend in the context of summary
judgment proceedings that certain avenues of discovery be foreclosed, their request is premature.
The means and timing of discovery disputes are governed by Federal Rules of Civil Procedure,
Local Rules, and the Court’s Standing Order and come later in the process.


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establishing the connection between a valid legislative purpose and the particular subpoenas at

issue in this case. Judge Kelly’s decision in the RNC case is not binding, and respectfully, wrong

on legislative purpose. But more importantly, the D.C. Circuit has effectively stayed that ruling

based on an apparent determination that the RNC is likely to succeed on the merits of its appeal.

See Order, Republican Nat’l Comm. v. Pelosi, No. 22-5123 (D.C. Cir. May 25, 2022). Neither

decision provides any basis to gloss over the Select Committee’s obligation to substantiate how

Mr. Meadows’s testimony would aid Congress in its lawmaking function. The Congressional

Defendants must therefore live with the record in this case, not another case of their choosing.

And on the record here, they have failed to carry their burden.

       Their own litigating position confirms that they are running afoul of settled precedent. The

Supreme Court very recently reiterated that “‘there is no congressional power to expose for the

sake of exposure,’” Trump v. Mazars USA, LLP, 140 S. Ct. 2019, 2032 (2020) (quoting Watkins

v. United States, 354 U.S. 178, 200 (1957)), and that “Congress may not issue a subpoena for the

purpose of ‘law enforcement,’” id. (quoting Quinn v. United States, 349 U.S. 155, 161 (1955)).

And yet the Congressional Defendants run headlong into those barriers by arguing that the

motivating purpose behind their investigation is to gather information about past events that they

publicly allege to constitute criminal wrongdoing and to use that information to prepare a public

report. See ECF No. 35 at 24 (arguing that compelling Mr. Meadows’s testimony would further

the Select Committee’s “task to determine the facts, circumstances, and causes related to the

January 6th attack”); see also id. at 25. To argue that an investigation provides a valid legislative

purpose for a congressional investigation is the definition of circular reasoning.

       The Congressional Defendants do not identify any draft legislation that would be better

informed by Mr. Meadows’s testimony, or any conceivable legislative initiative that his testimony




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might be needed to further. And of course, the Select Committee has no authority to markup

legislation in the first place. See H. Res. 503 § 4(d), 117th Cong. (2021). By contrast, in the

litigation culminating in Trump v. Mazars, 140 S. Ct. 2019 (2019), the House was able to identify

several pending legislative proposals related to the inquiry, including proposed legislation to

require Presidential candidates to disclose tax returns (with President Trump’s tax returns being

the specific subject of the subpoena). See generally Trump v. Mazars USA, LLP, 940 F.3d 710,

727 (D.C. Cir. 2019), vacated and remanded, 140 S. Ct. 2019 (2020). There is no such legislation

in this case.

        Without even a fig leaf, the Congressional Defendants cannot hide their naked intentions.

Thus, even if the existence of a valid legislative purpose would prevent a court from looking further

into other motives, see ECF No. 35 at 25–26, 8 that principle would have no application here. The

very problem is that the Select Committee has not established a valid legislative purpose for its

subpoenas targeting Mr. Meadows.

        The Congressional Defendants also undermine their claim of a legislative purpose by

claiming that they no longer seek to question Mr. Meadows about his official role. See ECF No.

35 at 16–20. As explained above and elsewhere, it is impossible to draw the fine line the

Congressional Defendants would have the Court to draw between Mr. Meadows’s role as White

House Chief of Staff and activities that might have helped with the President’s effort to get

reelected. But even if the Congressional Defendants were right, that would just further undermine

the notion that they are pursuing a valid legislative purpose. To the extent the Select Committee




8
 But see Dep’t of Com. v. New York, 139 S. Ct. 2551, 2573–75 (2019) (holding that, while a court
ordinarily “may not reject an agency’s stated reasons for acting simply because the agency might
also have other unstated reasons,” a court may nevertheless look past an agency’s stated reasons
where they present a “significant mismatch” with what they are doing).


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is directly targeting the campaign activity of its leadership’s political opponent, that effort runs

head long into the First Amendment, see ECF No. 29-1 at 37, and raises serious questions about

what conceivable legislative purpose they could be pursuing. It also means that they can no longer

wrap themselves in the mantel of “‘Congress’s historical oversight function,’” ECF No. 35 at 13

(quoting Miers, 558 F. Supp. 2d at 103), since Congress has no oversight over conduct that they

themselves claim to be outside the scope of the Executive Branch, see, e.g., ECF No. 35 at 17

(arguing that they are now targeting Mr. Meadows only for “private conduct”).

III.     The Subpoenas Were Not Validly Issued.

         The Select Committee has not complied with two key aspects of the rules governing

Committee proceedings and as a result the subpoena issued to Meadows is invalid. Both flaws are

independently material to a judicially cognizable issue before the Court.

         A.      Select Committee’s failure to adhere to H. Res. 503 is legally cognizable.

         The Rules applicable to the Select Committee in pertinent part require (a) that the Select

Committee be composed of 13 total members and (b) that a subpoena to a deposition can only be

issued by the Chair in consultation with the Select Committee’s “Ranking Member.” 9 As the

Supreme Court held in an analogous circumstance: “The Committee prepared the groundwork for

prosecution in Yellin’s case meticulously. It is not too exacting that the Committee be equally

meticulous in obeying its own rules.” Yellin v. United States, 374 U.S. 109, 124 (1963).

         In its brief, the Congressional Defendants boldly assert that Meadows “nitpicks … titles”

of committee members and this does not even present a legitimate question for the Court, claiming

that judicial consideration is barred by the Rulemaking Clause or some ill-defined deference to the

Congressional Defendants’ litigating positions. See ECF No. 35 at 29–30. They are wrong; what



9
    H. Res. 503 §§ 2(a), 5(c)(6), 117th Cong. (2021).


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the Rulemaking Clause bars is judicial interpretation of congressional rules that would be

rulemaking itself. What the courts can, and in this instance must, do is hold the Select Committee

to obeying the Rules that were made to govern its proceedings. See Christoffel, 338 U.S. at 88–

90. The Rulemaking Clause is not a get out of jail free card for miscreant committees. In closely

analogous cases, the Supreme Court and D.C. Circuit have affirmed the role of courts in policing

congressional compliance with its own requirements, including for its use of subpoena authority.

The best precedent strongly supports this Court’s authority to declare judgment for Mr. Meadows.

       Two Supreme Court opinions and two well-reasoned decisions from Judge J. Skelly Wright

on the D.C. Circuit strongly support Mr. Meadows’s position. See Christoffel, 338 U.S. at 88–90;

Yellin, 374 U.S. at 121; Liveright v. United States, 347 F.2d 473, 475 (D.C. Cir. 1965); Shelton v.

United States, 327 F.2d 601, 605 (D.C. Cir. 1963). There is no doubt: congressional subpoenas

must comply with House rules in order to be valid. Congress is free to create its own rules,

including those delegating the implied authority to issue investigative subpoenas to a committee,

but once it creates those rules, it must abide by them. In Christoffel, for instance, the House rules

required a quorum, and the defendant argued the committee lacked a quorum during the relevant

time when statements challenged for perjury were made. The committee argued that under the

rules a quorum only need be present during the initiation of the testimony, not during the time of

the challenged statements. The Court, in ruling that Congressional rules required the presence of

a quorum during the testimony, made clear where the line lies between judicially cognizable

enforcement of congressional rules and judicial review barred by the Rulemaking Clause:

       Congressional practice in the transaction of ordinary legislative business is of
       course none of our concern, and by the same token the considerations which may
       lead Congress as a matter of legislative practice to treat as valid the conduct of its
       committees do not control the issue before us. The question is neither what rules
       Congress may establish for its own governance, nor whether presumptions of




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       continuity may protect the validity of its legislative conduct. The question is rather
       what rules the House has established and whether they have been followed.

Christoffel, 338 U.S. at 89.

       Likewise, in a case where subpoena authorization was challenged, Shelton v. United States,

the D.C. Circuit held that the committee’s rules required the committee itself to issue a subpoena,

not the chairman or staff of the committee acting alone. The committee claimed its rules allowed

the chairman alone to issue a subpoena. The Court examined the relevant rules provisions and

determined that the Rules expressly required that the committee as a whole authorize the subpoena

(it did not blindly defer to the committee under the Rulemaking Clause, as the Congressional

Defendants urge this Court to do). Relying on the Supreme Court’s decision in Yellin, Judge

Wright held: “Since the Subcommittee did not authorize the issuance of the subpoena to Shelton,

the subpoena was invalid.” 327 F.2d at 606.

       The teaching of these cases is plain and contradicts the Congressional Defendants’

assertion that the issue of Select Committee adherence to its own rules is non-justiciable in this

case. To the contrary, the rule from these decisions is that a congressional committee is bound by

the plain terms of its own rules, and when adherence to those rules is challenged by a witness with

rights before the committee, the question is a legal one fully cognizable by the courts. These cases

all make clear that congressional committees must comply with their own rules, particularly those

going to the authority to compel parties with subpoena power, and if they violate those rules, courts

can and will declare the subpoena void.

       Against this strong authority, the Select Committee here offers ancillary case law and a

weak to non-existent response to the on-point precedent. First, the Rulemaking Clause does not

work to give the Select Committee cart blanche to violate the terms of delegation from the House.

The Select Committee’s three primary authorities for broad deference are inapt and do nothing to



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undermine the law established in the cases discussed above. In Rangel v. Boehner, the court

merely rejected Congressman Rangel’s attempt to challenge his censure as a political question

primarily involving the Discipline Clause, and favorably cites the more on-point precedent from

Yellin and Christoffel, where the Supreme Court decided committee power had been misused. See

20 F. Supp. 3d 148 (D.D.C. 2013). Baker v. Conroy fares no better. That decision focused on an

atheist’s Establishment Clause challenge to congressional rules governing prayer, and the court

noted how the House’s interpretation that “prayer” required “religious prayer” was accepted by

the court. Baker v. Conroy, 921 F.3d 1118, 1130 (D.C. Cir. 2019). This common-sense conclusion

does not support any substantial deference on rules application, as the Select Committee suggests.

       The Select Committee’s reliance on United States v. Rostenkowski, 59 F.3d 1291 (D.C.

Cir. 1995), badly misses the mark.       That case involved a criminal fraud case against a

Congressman, not a challenge to committee investigative authority and use of subpoenas. And

most all the House rules at issue were found to be judicially cognizable, even in that context. The

case does not require deference to a congressional interpretation of rules and the court follows

without qualification Yellin. Id. at 1305. If the Select Committee were correct, and any proffered

interpretation of House Rules must be deferred to, then Christoffel and Shelton were wrongly

decided, since the congressional interpretation offered therein was rejected by the courts. No rule

of strong deference can be drawn from these cases.

       The Select Committee also points to Judge Kelly’s recent decision in active litigation

between the Republican National Committee and the Select Committee, challenging a subpoena

for some of the same reasons at issue in this case. Judge Kelly, respectfully, was mistaken by

fashioning an ambiguity in H. Res. 503 that plainly does not exist, and by applying an unwarranted

level of deference to the Select Committee’s litigating positions, taking Rostenkowski out of




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context and ignoring the more on-point authority of Yellin and Christoffel. As explained below,

Judge Kelly also erred in how he interpreted H. Res. 503 on the merits.

       B.      The Select Committee’s subpoenas were not issued in compliance with H. Res.
               503 due to failed composition.

       The Select Committee does not comply with H. Res. 503’s requirements that the “Speaker

shall appoint 13 Members to the Select Committee, 5 of whom shall be appointed after

consultation with the minority leader.” H. Res. 503, 117th Cong. (2021) (emphasis added). The

Speaker never appointed 13 members and the Speaker never appointed 5 members in consultation

with the Minority Leader. There is no dispute about these facts, they are the status quo of the

Select Committee’s make-up. For both reasons, the Select Committee was not validly constituted

and cannot, as a matter of law, exercise delegated subpoena authority that belongs to Congress by

implication. See McGrain v. Daugherty, 273 U.S. 135, 174 (1927). The Select Committee has

almost no response to this. It points to Judge Kelly’s recent decision (stayed pending appeal by

the D.C. Circuit), as supporting an interpretation that “shall appoint 13 Members” doesn’t mean

the Speaker shall appoint 13 members, it must mean “may.” It then makes the unprecedented and

novel claim that the House’s action on contempt resolutions operates to “ratify” the view that the

Select Committee is validly constructed.

       As to Judge Kelly’s opinion, with respect, the better interpretation of H. Res. 503 is the

plain meaning of the words require the Speaker to appoint 13 members. Nothing in the context of

the resolution supports a highly unusual interpretation that “shall” is optional and allows the

Speaker to constitute a committee with only nine members, not the 13 specified (with five from

the minority consultation process). The only support for this strained interpretation of “shall” is a

fleeting citation to English v. Trump, where the word “shall” was interpreted in context with other

statutes, and otherwise notes that authority strongly supports the common sense view that shall “is



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usually understood as mandatory.” 279 F. Supp. 3d 307, 323 (D.D.C. 2018). The interrelationship

between Dodd-Frank and the Federal Vacancies Reform Acts, at issue in English, says nothing

about how the Speaker could possibly understand H. Res. 503 as anything other than a requirement

to appoint 13 members. Judge Kelly then wrongly deferred to the House view that “shall” means

“might,” relying on a misreading of Rostenkowski.           Unreasonable and erroneous House

interpretation of rules can and should be rejected by this Court, as the interpretations were in

Christoffel and its progeny.

       The House vote on contempt resolutions cannot operate to “ratify” the Select Committee’s

legally deficient composition. But see ECF No. 35 at 28. There is no legal doctrine of ratification

for such a fundamental error. If there were, then virtually all legal challenges to subpoenas would

have come out otherwise since it is usually the case that a subpoena challenged in the context of

contempt would have been subsequently subject to a referral vote outside the committee being

challenged. In other words, failure to follow the rules in committee composition cannot be fixed

by a mere contempt resolution vote; it would need to be addressed by amending H. Res. 503 or

comply with the plain terms of the resolution by appointing 13 Members.

       C.      The Select Committee’s subpoenas were not issued in compliance with H. Res.
               503 due to lack of consultation with a ranking minority member.

       In addition to lacking the requisite composition, the Select Committee failed to follow the

rules for consultation with a ranking minority member before issuing the subpoena to Mr.

Meadows. The Select Committee all but concedes it violated its own rules about consultation by

claiming this argument is “nitpicking.” On the contrary, protecting the rights of the minority party

where they impact the Due Process rights of a committee witness, including by the common

mechanism of allowing the minority party to designate a ranking member who exercises

procedural rights, is precisely what the Supreme Court and the D.C. Circuit instruct that courts



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must do. As Mr. Meadows has shown, the Select Committee failed to consult with a “ranking

minority member” because there is no ranking minority member.              In response, the Select

Committee again relies on Judge Kelly’s recent opinion (stayed pending appeal by the D.C.

Circuit), and also contends that Rep. Liz Cheney is “ranking minority member for consultation

purposes.” ECF No. 35 at 29 (emphasis added). Where in House Resolution 503 is there a

provision for such a designation? Why the qualification? Perhaps because the Select Committee

cannot bring itself to say what it knows to be false: Rep. Cheney is not the “ranking minority

member,” period.

       It is not surprising that counsel for the House would thus readily admit to the Federal

Bureau of Investigation that the Select Committee does not have a ranking minority member, and

that Rep. Cheney is “Vice Chair,” as it was recorded:

       LETTER explained that the Select Committee was specifically appointed by the Speaker
       of the House and there were no majority or ranking members. Representative LIZ
       CHENEY is acknowledged to the Vice Chair of the Select Committee … there are no
       express rules for the Vice Chair as there would be for a Ranking Member.

ECF No. 29-2 ¶ 18. The Select Committee boldly says nothing in response to this quasi-judicial

admission that Rep. Cheney is not the ranking minority member. This undisputed evidence

strongly supports Mr. Meadows’s claim for judgment that the subpoenas at issue are invalid

because there can be no compliance with the ranking minority member consultation requirements.

       The Select Committee’s response to the ranking minority member defect amounts to

semantics. In addition to mischaracterizing the clear legal requirement as “nitpicking,” the Select

Committee attempts to demean the position and role of the ranking minority member by calling it

a “title.” Of course, both major parties regularly rely on appointment of ranking minority members

to protect substantive rights; not merely treating it as a title. Regardless of characterization, the

Select Committee failed to follow its own clear rule.



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       In addition, the Select Committee again invokes Judge Kelly’s recent opinion as having

resolved the issue. The reasoning of that decision, not binding on this court and unsettled by the

ongoing appeal, should be rejected.       Judge Kelly, and the Select Committee, adopt the

unreasonable and unprecedented view that the “ranking minority member” can be ascertained by

simply looking at the member of a committee who is literally most senior in seniority, and party

affiliation, without any role for the minority party and its leadership to designate the ranking

position. Although it is true that Rep. Cheney was the first (of two) Republican members that

Speaker Pelosi appointed to the Select Committee, that mechanical understanding of the ranking

minority member position is entirely contrary to past congressional practice and at odds with the

uncontested view of the Minority Leader Kevin McCarthy that Rep. Cheney is simply not the

ranking minority member. 10



10
   As Minority Leader Kevin McCarthy recently stated, Representative Cheney “is clearly not the
ranking minority member.” Letter from Elliot S. Berke, counsel for House Republican Leader
Kevin McCarthy, to Bennie G. Thompson, Chairman, Select Comm. to Investigate the Jan. 6th
Attack on the U.S. Capitol (May 27, 2022), https://republicanleader.house.gov/wp-
content/uploads/2022/05/McCarthyLetter-052722.pdf. Ranking members, distinct than most
senior members, have always been understood as the member designated by the minority party,
without regard to simple seniority (on the Select Committee or in the House). Both the Republican
Conference Rules and Democrat Caucus Rules make this clear. The Republicans provide for term
limits, with no reference for seniority, for ranking members. See GOP H. Conf. R. 117th Cong.
14(e), https://www.gop.gov/conference-rules-of-the-117th-congress/. The Democrat Caucus
Rules are even more stark—calling for election or secret ballot, again without reference to simple
seniority.    See R. Democratic Caucus 21(D)(1)(a), 117th Cong. (Jan. 14, 2021),
https://www.dems.gov/imo/media/doc/DEM_CAUCUS_RULES_117TH_April_2021.pdf. Both
Rules are consistent with the longstanding practice of minority party selection or designation of
the “ranking minority member.” For example, in the 114th Congress, when the Democrats were
in the minority, Representative Levin was ranking member of the House Ways & Means
Committee, even though Representative Rangel had been more senior by 12 years. See H. Rep.
No. 114-887, at (II), 20 (2016). Compare Representative Sander M. Levin, Congress.gov (last
visited June 6, 2022), https://www.congress.gov/member/sander-levin/L000263, with
Representative Charles B. Rangel, Congress.gov (last visited June 6, 2022),
https://www.congress.gov/member/charles-rangel/R000053. Consistent with this longstanding
practice, even in politically contentious situations, the minority party simply speaks of
“appointing” or “selecting” members of committees and ranking members. See, e.g., Press


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       In addition, the Select Committee argues the court must defer to the Select Committee and

accept that Rep. Cheney was the “ranking minority member” for consultation purposes.         It is

telling that the Select Committee cannot even bring itself to declaring Rep. Cheney the ranking

minority member without qualification. The case law regarding congressional authority to

investigate by subpoena does not support the absolute deference the Select Committee demands.

If such strong deference were required, then none of the challenges to congressional subpoenas

would have succeeded. See, e.g., Yellin v. United States, 374 U.S. 109 (1963); Liveright v. United

States, 347 F.2d 473 (D.C. Cir. 1965); Shelton v. United States, 327 F.2d 601 (D.C. Cir. 1963).

Especially when the requested deference is for an unreasonable and unprecedented position

(declaring a ranking minority member contrary to the expressed position of the minority party),

not only is deference not appropriate, it would constitute precisely the judicial intervention the

Rulemaking Clause forecloses.

       Finally, while the undisputed facts and public records subject to judicial notice strongly

support Meadows position that Cheney is not the ranking minority member, if the Court has any

doubt, then it should deny the Select Committee’s motion for summary judgment and grant Mr.

Meadows the opportunity conduct discovery and develop facts relevant to this issue.




Release, Nancy Pelosi, Democratic Leader, U.S.H.R., Pelosi Names Democratic Members to
House        Select      Committee      on        Benghazi     (May        21,     2014),
https://web.archive.org/web/20141207010037/https:/www.democraticleader.gov/newsroom/pelo
si-names-democratic-members-house-select-committee-benghazi/.


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IV.    The Congressional Defendants’ Procedural Arguments Are Also Unavailing.

       A.      The recent developments in the RNC litigation show that the Congressional
               Defendants’ rush to summary judgment in this case was misguided and
               unsupported.

       The Congressional Defendants’ brief in opposition relies heavily on Judge Kelly’s recent

decision in Republican Nat’l Comm. v. Pelosi, No. 22cv659, __ F. Supp. 3d __, 2022 WL 1294509

(D.D.C. May 1, 2022), to justify their response to Mr. Meadows’s arguments on invalid legislative

purpose, the improper composition of the Select Committee, and the absentee ranking member.

Just as they have done in Mr. Meadows’s case, the Congressional Defendants in the RNC litigation

asked the courts to rush to judgment on important constitutional concerns in order to meet their

self-imposed (and likely politically motivated) deadlines. But their reliance on RNC is flawed.

First, the RNC case was not filed as a related case to Mr. Meadows’s, and there are many critical

factors distinguishing the RNC case from Mr. Meadows’s. In RNC, for example, there is no

subpoena for testimony, nor are there claims of testimonial immunity or executive privilege. Its

ruling thus did not account for many of the important constitutional rights and protections at stake

in this litigation. For these reasons, the Court should decline the Congressional Defendants’ pleas

to adopt Judge Kelly’s ruling on dispositive arguments of legislative purpose, the composition of

the Select Committee, and the ranking member.

       Second, with respect to the limited set of arguments shared by the RNC and Mr. Meadows,

the Court should similarly be reluctant to adopt the findings in RNC. Just as they did in the instant

case, the Congressional Defendants made a dramatic appeal for the courts to quickly resolve their

case so as “not to interrupt and delay the Select Committee’s work at this critical juncture.”

Appellees’ Corrected Resp. Appellant’s Emergency Mot., Republican Nat’l Comm. v. Pelosi, No.

22-5123 (D.C. Cir. May 24, 2022). Twelve days ago, the D.C. Circuit issued an injunction pending

appeal of Judge Kelly’s decision, an action both parties agreed require the Court to consider the


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RNC’s likelihood of success on the merits, and granted the Congressional Defendants their

requested expedited briefing schedule. See id.; Order, Republican Nat’l Comm. v. Pelosi, No. 22-

5123 (D.C. Cir. May 25, 2022); Emergency Mot., Republican Nat’l Comm. v. Pelosi, No. 22-5123

(D.C. Cir. May 23, 2022). And with that, it appears the juncture may not be so critical as the

Congressional Defendants first suggested. Undoubtedly recognizing their diminishing chances of

success on appeal and out of concern for an appellate court ruling that would harm their likelihood

of success in cases such as Mr. Meadows’s, the Congressional Defendants changed their mind and

moved the D.C. Circuit for a delay in briefing. See Mot. Postponement Br. & Oral Arg.,

Republican Nat’l Comm. v. Pelosi, No. 22-5123 (D.C. Cir. May 29, 2022). These recent actions

by the Congressional Defendants in the RNC case indicate their real concern: that the D.C. Circuit

may not appease their hasty, bullying tactics against witnesses and courts. The Court should not

indulge their feigned rush to judgment in this matter either.

        B.      The Congressional Defendants have not identified defects in Mr. Meadows’s
                statement of facts, and any material factual disputes would only support his
                still-pending Rule 56(d) motion.

        In their opposition to Mr. Meadows’s statement of facts, the Congressional Defendants

admit that Mr. Meadows disputes at least six paragraphs of their purported “undisputed” statement

of facts. See ECF No. 35 at 9. That, in addition to their fit over Mr. Meadows’s statement of facts

in support of his motion and in opposition to the Congressional Defendants’ motion for summary

judgment, does nothing but emphasize Mr. Meadows’s consistent refrain that, should he not be

entitled to judgment as a matter of law, then there are clearly disputed material facts in this case

that call for discovery.

        Actually, Mr. Meadows disputed outright ten of the many allegations contained in the

Congressional Defendants’ 29 paragraphs of stated facts. See ECF No. 35 at 9 (identifying the six

disputed paragraphs); ECF No. 29-3 ¶¶ 9 (“Mr. Meadows disputes that the testimony and


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documents demanded in the subpoena are limited to ‘the events of January 6, 2021, and the facts

and circumstances that led to the violent attack on the Capitol that day.’”), 20 (“Mr. Meadows

disputes that he had a ‘change of heart.’”), 21 (“Mr. Meadows does dispute that he and the Select

Committee agree upon any ‘indisputably non-privileged testimony.’”), 22 (“Mr. Meadows again

disputes that he and the Select Committee agree on the scope of ‘non-privileged information.’”).

And with another four allegations, Mr. Meadows contested the Congressional Defendants’

characterization of the document referenced, stating that the Court may itself refer to the document,

rather than accepting the Congressional Defendants’ characterizations. See ECF No. 29-3 ¶¶ 17–

20.

       The Congressional Defendants’ opposition also contends that Mr. Meadows “appears to be

ignoring the actual allegation, each of which includes a citation.” ECF No. 35 at 9. But the

Congressional Defendants apparently failed to understand Mr. Meadows’s objection to each of

these referenced statements, which note that the citations do not, in fact, support one or more

aspects of the Congressional Defendants’ statement.

       The first example Congressional Defendants allege cannot be in dispute—that the privilege

log “plainly includes communications between Mr. Meadows and well known members of the

Trump campaign team” and campaign counsel—clearly ignores Mr. Meadows’s argument. The

Congressional Defendants’ statement in question was that Mr. Meadows’s privilege logs, ECF No.

15-6, “identified more than 200 communications he initiated or participated in based on his role in

the Trump campaign with people reported to be members of the Trump campaign legal team or

other Trump campaign staff.” ECF No. 15-28 ¶ 18. Mr. Meadows disputed this part of their

allegation on two grounds. First, neither the privilege logs nor the Congressional Defendants

identified which individuals included in the privilege log were “reported to be members of the




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Trump campaign legal team or other Trump campaign staff.” See ECF No. 29-3 ¶ 18. In this way,

the Congressional Defendants did not properly support their contention, as Mr. Meadows noted.

And second, nothing in the Congressional Defendants’ referenced document indicates that Mr.

Meadows undertook these communications “based in his role in the Trump campaign.” See id.

Further, for the many reasons stated in Part I.B, Mr. Meadows has objected to “the distinction

Congressional Defendants attempt to draw between actions Mr. Meadows took as Chief of Staff

to the President and those he took to reelect the President.” See id. So despite the Congressional

Defendants’ contentions otherwise, this is a material dispute.

       The Congressional Defendants’ other example, relating to Donald Trump’s press release,

is even more straightforward.      Mr. Meadows disputes that the press release supports the

Congressional Defendants’ statement that “Former President Trump reviewed [Mr. Meadows’s]

book in advance and did not object to its publication.”          Nothing in the press statement

Congressional Defendants cite, see ECF No. 35-3, states that former President Trump read Mr.

Meadows’s book. And even if the fact that former President Trump released the statement is alone

sufficient to show he “did not object to its’ publication” (which Mr. Meadows submits it is not)

the Select Committee’s own statements dispute the fact that former President Trump approved of

Mr. Meadows’s book prior to publication. See 167 Cong. Rec. H7645 (daily ed. Dec. 14, 2021)

(statement of Rep. Raskin) (“Mark Meadows’ book came out with tons of startling and eye-

popping revelations about January 6th and the role that then-President Donald Trump played. Ex-

President Trump exploded and called Mr. Meadows' book fake news.”).

       The Congressional Defendants next object to a number of Mr. Meadows’s presented facts

as hearsay and thus, not admissible in evidence. These objections include an official FBI report

filed in another case before this very Court. Compare ECF No. 35-1 ¶ 18, with Veg-Mix, Inc. v.




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U.S. Dep’t of Agriculture, 832 F.2d 601, 607 (“Courts may take judicial notice of official court

records.”).   It is unclear, for example, why the Congressional Defendants argue that Mr.

Meadows’s citations to press releases are inadmissible hearsay, see, e.g., ECF No. 35-1 ¶ 7, but

their own citations to press releases (not by any party to this case or subject to any other obvious

hearsay example) are admissible, see, e.g., ECF No. 15-28 ¶ 4, 5, 24. Mr. Meadows has disputed

the relevant portions of these statements.       The Congressional Defendants’ objections are

unavailing, and each of these statements is admissible. 11

       Unfortunately, Mr. Meadows has not had the benefit of purported subpoena power to

support his arguments in opposition to the Congressional Defendants’ motion, nor was he privy to

much of the testimony and documents cited by and attached to their motion. As the Congressional

Defendants point out in their opposition, ECF No. 35 at 9, without the benefit of any discovery,

Mr. Meadows is unable to support factually his challenge to some of the Congressional

Defendants’ statements of fact, see ECF No. 29-3, and his own additional facts in opposition to

the Congressional Defendants’ motion, see ECF No. 29-2. For this reason, Mr. Meadows disputed

each statement of alleged fact (and any accompanying commentary) that was unsupported by the

Congressional Defendants’ own citations. See ECF No. 29-3, ¶¶ 5, 6, 7, 18, 23, 26. For example,

without additional discovery, Mr. Meadows is unable to support his dispute that Speaker Pelosi

has fulfilled her duties pursuant to H. Res. 503. See ECF No. 29-3 ¶¶ 5, 6; see also Letter from

Elliot S. Berke, counsel for House Republican Leader Kevin McCarthy, to Bennie G. Thompson,

Chairman, Select Comm. to Investigate the Jan. 6th Attack on the U.S. Capitol (May 27, 2022)

(“The Speaker did not appoint five members after consultation with the minority leader.”).




11
  To the extent the Court seeks full briefing on each of the Congressional Defendants’ twenty-six
hearsay arguments, Mr. Meadows welcomes such opportunity.


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       It is for these reasons that Mr. Meadows filed a motion pursuant to Federal Rule of Civil

Procedure 56(d), asking the Court to deny without prejudice or delay ruling on the Congressional

Defendants’ motion for summary judgment, ECF No. 20. But while the Court has held that motion

in abeyance, Mr. Meadows continues to emphasize that he is entitled to summary judgment on the

issues that Congressional Defendants label “irrelevant.”

       Specifically, the facts relating to “the formation, composition, operations, or investigative

scope” and the legislative purpose and intent of the Select Committee are of utmost relevance to

Mr. Meadows’s motion. See supra Parts II–III. The Congressional Defendants’ attempt to dismiss

such claims as irrelevant due to a nonbinding and distinguishable court decision is unjustified. See

Part IV.A supra.

       And lastly, the Congressional Defendants object to counsel’s declaration in support of

some of the material facts. Counsel’s declaration is based on his personal knowledge, the basis of

which is provided in each of the specific declarations. See ECF No. 29-4. The declaration fully

comports with the requirements of Federal Rule of Civil Procedure 56(c)(4).

       C.      The Congressional Defendants improperly use their reply to claim new grounds
               for seeking summary judgment.

       The Congressional Defendants’ arguments on the other issues which Mr. Meadows has

raised in his complaint but on which he has not yet sought summary judgment—namely, the Stored

Communications Act, the First Amendment, and the Fourth Amendment—are also misplaced.

       To start, the Congressional Defendants have sought summary judgment on Mr. Meadows’s

Fourth Amendment claim based on absolute immunity for the first time in their reply. They argue

that they are immune from Mr. Meadows’s argument that the subpoena violates the Fourth

Amendment. See ECF No. 35 at 36. According to the Congressional Defendants, they have




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absolute immunity from this constitutional claim because of the protection afforded to

congressional Speech or Debate. Id.

        This argument is foreclosed as a ground for summary judgment in their favor because

Congressional Defendants failed to raise it before their reply. Courts in this Circuit have “generally

held that issues not raised until the reply brief are waived.” Bloche v. Dep’t of Def., 414 F. Supp.

3d 6, 24 n.4 (D.D.C. 2019) (quoting Sitka Sound Seafoods, Inc. v. NLRB, 206 F.3d 1175, 1181

(D.C. Cir. 2000)). Thus, a new argument for summary judgment will be rejected when raised for

the first time in reply. See id.

        The Congressional Defendants made no mention of absolute immunity as a defense to Mr.

Meadows’s Fourth Amendment claim in their motion for summary judgment and supporting

memorandum. See ECF No. 15 at 62–65. Instead, they argued that the subpoena was not

overbroad and that Carpenter v. United States, 138 S. Ct. 2206 (2018), did not apply to the

information sought. Id. The Congressional Defendants cited the case they now rely on to assert

immunity—Eastland v. United States Servicemen’s Fund, 421 U.S. 491 (1975)—but only in a

section of their memorandum discussing Mr. Meadows’s First Amendment claim. Id. at 54. This

mere reference to a related case in a different section of their memorandum falls far below the

standard to raise immunity as a ground for judgment on the Fourth Amendment claim. See Bloche,

414 F. Supp. 3d at 24 n.4 (explaining that an argument is waived “when a party does not argue a

point until its reply brief, even if the party referred to the argument in its opening brief”).

        The argument further fails because the Congressional Defendants have waived their claim

for absolute immunity under the Speech or Debate Clause against any of Mr. Meadows’s claims

since they failed to raise that defense in their Answer to Mr. Meadows’ First Amended Complaint.

See ECF No. 17 at 31–33. Constitutional immunity, including under the Speech or Debate Clause,




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is an affirmative defense. See Bush v. Lucas, 462 U.S. 367, 377 (1983) (referring to an “affirmative

defense based on the speech or Debate Clause of the Constitution”); see also Shelby Cnty.,

Alabama v. Holder, 43 F. Supp. 3d 47, 53 (D.D.C. 2014), aff’d sub nom. Shelby Cnty., Ala. v.

Lynch, 799 F.3d 1173 (D.C. Cir. 2015) (explaining that sovereign immunity is an affirmative

defense). “[A]n affirmative defense not raised by answer cannot be raised in dispositive motions

that are filed post-answer.” Smith-Haynie v. D.C., 155 F.3d 575, 578 (D.C. Cir. 1998). Thus, the

Congressional Defendants cannot rely on Speech of Debate immunity to defeat Mr. Meadows’s

claims.

                                         CONCLUSION

          For the reasons discussed, the Court should grant Mr. Meadows’s motion and deny the

Congressional Defendants’ motion for summary judgment.




Dated: June 6, 2022                                  Respectfully submitted,
                                                     MARK MEADOWS
                                                     By Counsel

                                                     /s/ George J. Terwilliger III
                                                     George J. Terwilliger III
                                                     MCGUIREWOODS LLP
                                                     888 16th Street NW, Suite 500
                                                     Washington, DC 20006
                                                     Phone: (202) 857-1700
                                                     Fax: (202) 857-1737
                                                     gterwilliger@mcguirewoods.com

                                                     Brooks H. Spears
                                                     MCGUIREWOODS LLP
                                                     1750 Tysons Boulevard, Suite 1800
                                                     Tysons, VA 22102
                                                     Phone: (703) 712-5000
                                                     Fax: (703) 712-5050
                                                     bspears@mcguirewoods.com




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                                CERTIFICATE OF SERVICE

       I certify that, on June 6, 2022, a copy of the foregoing was filed on the Court’s CM/ECF

system, which will send notification to all counsel of record.

                                                     /s/ George J. Terwilliger III
